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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                        Criminal No. 20-231(6) (JRT/DTS)

 UNITED STATES OF AMERICA,

                    Plaintiff,
                                            GOVERNMENT’S
              v.                            SENTENCING
                                            MEMORANDUM
 SHARON DENISE MCEWEN,

                    Defendant.

      For the following reasons, the United States recommends that Defendant

Sharon Denise McEwen receive a sentence of 6 months of imprisonment. The United

States believes that such a sentence, which is a downward variance below the low

end of the applicable Guidelines range, is sufficient, but not greater than necessary,

to comport with the Section 3553(a)(2) sentencing factors.

I.    Relevant Facts

      A.     Offense Conduct

      On October 20, 2020, McEwen was charged in a ten-count indictment with

conspiracy to commit mail fraud and mail fraud, in violation of 18 U.S.C. §§ 1341 and

1349. McEwen entered a guilty plea pursuant to a plea agreement on December 9,

2020. The circumstances of the offense are set forth in the Presentence Investigation

Report (the “PSR,” ECF No. 187).

      McEwen participated in a large, nationwide telemarketing fraud scheme

involving magazine subscription sales. Between 2010 and February 2020, McEwen

worked as a telemarketer for a Mississippi-based company called Online Reading
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Club Inc., which also did business as Readers Pros. McEwen worked at Readers Pros’s

telemarketing call center in Oxford, Mississippi.

      Readers Pros, and its boss Daniel Mathias, operated a multi-year, large-scale

fraud scheme that involved tricking often elderly or otherwise suspectable victims

into making large payments in order to purportedly stop or cancel a victim’s ongoing

magazine subscriptions. Readers Pros conducted the fraud scheme by lying to and

tricking victims. Readers Pros preyed on victims who were often fraudulently being

charged large amounts by multiple different other magazine companies. These

victims were sometimes being charged by as many as a dozen or more different

magazine companies, and often received aggressive and threatening calls about the

amount of money they owed these other fraudulent magazine companies.

      Although Readers Pros claimed to be able to stop a victim’s ongoing magazine

subscriptions, stop the victim from receiving future calls, or wipeout the money the

victim purported owed other companies, in reality, Readers Pros had no relationship

with the victim and was unable to actually cancel any of the victim’s ongoing

magazine subscriptions. While Readers Pros promised to help victims cancel their

magazine subscriptions, instead Readers Pros simply took hundreds of dollars from

vulnerable victims in exchange for an empty promise.

      McEwen worked as a telemarketer at Readers Pros. In that role, she used

fraudulent sales scripts, which were provided by the company, to call victims and

make a series of deliberate lies and misrepresentations about how Readers Pros could




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help the victim cancel what often was an overwhelming number of expensive

magazine subscriptions that the victim was receiving.

      Specifically, McEwen called victims and falsely claimed that they owed a large

outstanding balance for an existing magazine subscription. McEwen then offered that

Readers Pros could pay off the outstanding balance in exchange for a one-time

payment of $507. McEwen knew that she was lying to victims and that Readers Pros

did not have the ability to cancel victims’ outstanding balances or ongoing magazine

subscriptions. Readers Pros simply collected the money and whatever ongoing

balance and existing magazine subscriptions the victims had were not cancelled.

      During the approximately decade that McEwen worked at Readers Pros, the

company defrauded thousands of victims and collected more than $2.7 million as a

result of the fraudulent scheme.

      B.     Defendant’s Criminal History

      McEwen has no previous criminal history. She has a criminal history score of

0, corresponding to a criminal history category of I. (PSR ¶ 82.)

      C.     Defendant’s Personal History

      McEwen was born and raised in Mississippi. She was predominantly raised by

her paternal grandparents. Her father relocated to Michigan for employment

opportunities. She had no relationship with her mother growing up, whom she did

not meet until 2015, when her mother was extremely ill. McEwen described her

childhood as comfortable, and she explained that she was well-provided for.




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      McEwen attended college in Mississippi, and later in Alabama. She played

basketball in college. She had her first child in 1990 and her second child in 1996.

Her daughter lives near her in Mississippi and works as a dental assistant. Her son

is an Olympic athlete who competes in the high jump. McEwen is very involved in his

training and competing.

       Argument

      A.     Legal Background

      “[A] district court should begin all sentencing proceedings by correctly

calculating the applicable Guidelines range.” Gall v. United States, 552 U.S. 38, 49

(2007). “[U]nder the advisory guidelines scheme, sentencing judges are required to

find sentence-enhancing facts only by a preponderance of the evidence.” United States

v. Scott, 448 F.3d 1040, 1043 (8th Cir. 2006).

      “[A]fter giving both parties an opportunity to argue for whatever sentence they

deem appropriate, the district judge should then consider all of the § 3553(a) factors

to determine whether they support the sentence requested by a party.” Gall, 552 U.S.

at 49-50; 18 U.S.C. § 3553(a). The Section 3553(a) factors include “the nature and

circumstances of the offense,” “the history and characteristics of the defendant,” “the

need for the sentence to reflect the seriousness of the offense,” “the need for

deterrence,” “the need to protect the public from further crimes of the defendant,” and

“the need to avoid unwarranted disparities.” 18 U.S.C. § 3553(a).

      B.     The Presentence Investigation and Guidelines Calculations

      The United States has reviewed the PSR prepared by the U.S. Probation Office.




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The United States did not object to the factual portions of the PSR. The PSR

concluded that the total offense level is 24 and the criminal history category is I.

Based on this, the Guidelines range term of imprisonment is 51 to 63 months. (PSR

¶ 106.)

         C.    The Appropriate Sentence

         A careful consideration of the Section 3553(a) factors warrants a sentence of 6

months of imprisonment.

         1.    The Nature and Circumstances of the Offense.

         McEwen’s     conduct   was    unquestionably    serious    and   warrants    a

correspondingly serious sentence. She participated in a large, nationwide fraud

scheme that targeted thousands of elderly and otherwise vulnerable victims.

Although she knew that she and others at the company were committing fraud, she

continued to work there day in and day out and perpetrated the scheme for almost a

decade.

         Moreover, the version of the fraud scheme conducted by McEwen and others

at Readers Pros is particularly egregious. The scheme relied on finding people that

were already being victimized by magazine companies—often by multiple magazine

companies over a long period of time—and falsely offering to help them. But instead

of helping them, McEwen and others at Readers Pros re-victimized those people,

while preying on the precise vulnerability that led them to be victims in the first

place.

         At the same time, McEwen played only a small part in a large-scale fraud.

McEwen worked as a telemarketer. She did not own, operate, or manage Readers


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Pros. She did not develop the fraud scheme or write the fraudulent scripts. Nor did

McEwen get rich participating in the scheme—she was only paid a small, hourly wage

for her work.

      Although McEwen was well-aware that she and others at the company were

committing fraud, the fact that Readers Pros operated an office and call center where

numerous other telemarketers also worked provided an air of legitimacy to an

illegitimate, fraudulent company. In many ways, this allowed Readers Pros to recruit

otherwise well-intended individuals like McEwen, who were merely seeking a

paycheck, into the fraudulent work. This is not an excuse for McEwen’s conduct,

particularly in light of how long she worked at the company, although it helps explain

how she became involved in it.

      2.        The History and Characteristics of the Defendant.

      In many ways, McEwen had a fairly normal childhood. She grew up being

raised by her grandparents in a household with plenty of familial support and

recounted that she was well provided for. On the other hand, McEwen had no

relationship with her mother and had a limited relationship with her father, who

relocated out of state for work opportunities.

      3.        The Need for the Sentence Imposed to Reflect the Seriousness of the
                Offense and Afford Adequate Deterrence

      In light of the seriousness and wide-spread nature of the offense, McEwen

requires a sentence that will not only prevent her from committing another offense

in the future but will also provide general deterrence for others who operated similar

fraudulent schemes brazenly throughout the country for decades. McEwen and others



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who participate or consider participating in a similar scheme are more likely to be

deterred from committing fraud if they learn there are serious consequences, and

they will pay a stiff price for it. A significant sentence will promote respect for the

law and reflect the damage to victims and the community as a whole as a result of a

large-scale fraud scheme that preyed on elderly and otherwise vulnerable victims.

      A sentence of 6 months of imprisonment will serve the needs of sentencing to

reflect the seriousness of the offense, to promote respect for the law, to provide just

punishment for the offense, to afford adequate deterrence, and to protect the public

from further similar fraud schemes.

II.   Conclusion

      For all the above reasons, the United States respectfully requests that the

Court vary downward and impose a sentence of 6 months’ imprisonment.

                                              Respectfully submitted,

Dated: December 2, 2022                       ANDREW M. LUGER
                                              United States Attorney
                                              /s/ Harry M. Jacobs
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                                              HARRY M. JACOBS
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